I concur in the order of reversal. The only question properly before us is one of pleading. Did the petition for a contempt order state facts sufficient as against a general demurrer to call upon the court to proceed with a hearing thereon? I think the opinion of Mr. Justice WADE is making the same error in approach as did the trial court, that of going back in the record to determine whether or not Heath is guilty of contempt. The record of proceedings prior to the filing of the contempt petition is not properly before us. It is not properly pleaded. It is no part of the petition, and should not at this time be used as a basis for concluding that Heath was or was not in contempt. We are merely concerned with the allegations of the petition. Therein were the following allegations: That the court had at a prior date entered lawful orders directing Heath to turn over to the administrators certain property; that Heath had the ability to comply with the order and turn over the property; that he failed and refused to comply with the order; that such failure and refusal to comply was wilful and contumacious. These are the facts essential to constitute contempt. All being pleaded, the petition was sufficient and the demurrer should have been overruled, and defendant required to answer. Heath could then raise any defense he had thereto, including, if he saw fit, the question of his ability to comply; the question as to what part, if any, of the sums discussed in the prevailing opinion was cash on hand at the time the orders were entered; the validity of the orders to pay over, and any other matters he might deem *Page 346 
material to a determination of the question as to whether he was guilty of contempt. On these matters he is entitled to his day in court before anything should be said or implied by this court as to what we may think or conclude from the record not part of the petition. While much that is said in the prevailing opinion revolves around matters that were involved in Findings of Fact, Conclusions of Law and an Order made by Judge Schiller in 1938, appellant did not bring to this court, as part of the record, such Findings, Conclusions and Order.
For the limited reasons herein stated I concur in reversing the judgment, but do not concur in any other matter or conclusions arrived at in the main opinion.